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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF MONTANA
                       GREAT FALLS DIVISION


 INDIGENOUS ENVIRONMENTAL                 CV 17-29-GF-BMM
 NETWORK, et al.,                         CV 17-31-GF-BMM

 and                                      Consolidated

 NORTHERN PLAINS RESOURCE                 DEFENDANTS’ RESPONSE TO
 COUNCIL, et al.,                         DEFENDANT-INTERVENORS’
                                          MOTION TO AMEND THE
            Plaintiffs,                   COURT’S ORDER ON
 v.                                       SUMMARY JUDGMENT
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    UNITED STATES DEPARTMENT OF
    STATE, et al.,

                Defendants,
    and

    TRANSCANADA CORPORATION, et
    al.,

                Defendant-Intervenors.



          Federal Defendants hereby respond to Defendant-Intervenors’ Motion to

Amend the Court’s Order on Summary Judgment (ECF No. 221). Federal

Defendants support the arguments made in Defendant-Intervenors TransCanada

Corp. et al.’s motion and agree that the Court’s permanent injunction, as

specifically phrased by the Court in the summary judgment order, was overly

broad because the plain text of that order would appear to prohibit all pre-

construction and planning activities related to the Keystone XL Pipeline. For the

reasons discussed in TransCanada’s motion, the order should be amended to allow

TransCanada to conduct preconstruction activities related to the Keystone XL

Pipeline which do not require the government’s approval.1


1
  TransCanada’s motion does not request reconsideration of the decision to vacate
the record of decision, but expressly reserves the right to seek a stay of the Court’s
order should they seek to appeal. See Def.-Ints.’ Mem. in Supp. of Mot. to Amend
the Court’s Order on Summ. J. (“TC Mem.”) at 2 n.1 (ECF No. 222). Federal
Defendants likewise address only the Court’s permanent injunction in this response
and reserve the right to seek a stay of the Court’s vacatur at a later date. Federal
                                           2
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      As discussed at the status conference on November 28, 2018, Federal

Defendants are concerned that the Court’s order could be construed as precluding

federal government agencies from considering applications relating to the

Keystone XL Pipeline, as well as conducting environmental reviews relating to

those applications. Federal Defendants understand, based on the Court’s

statements at the status conference, that the Court’s order does not enjoin the

consideration of applications relating to Keystone XL, including the preparation of

any environmental analyses and potential decision documents relating to those

applications.

      For example, the Court’s order instructs the U.S. Department of State (“State

Department”), in conjunction with other federal agencies, to prepare an additional

National Environmental Policy Act (“NEPA”) analysis to address the issue

identified in the Court’s order and also to work on a revised national interest

determination to address the Court’s ruling on the Administrative Procedure Act

claim. The Court also directed the State Department to further consult with the

U.S. Fish and Wildlife Service regarding potential adverse impacts to endangered

species from the Keystone XL Pipeline, including addressing updated information

on oil spills and route changes in Nebraska. Based on the Court’s statements at the



Defendants also expressly reserve and do not waive other appellate remedies that
may be available.
                                          3
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hearing and the Court’s minute entry (ECF No. 227), Federal Defendants

understand that all such activities are not subject to the Court’s injunction.2

      An issue remains, however, with respect to cultural, biological, and other

surveys that a federal agency or TransCanada may conduct in conjunction with

environmental reviews relating to the Keystone XL Pipeline. The Court has

deferred a ruling regarding the “field activities” referenced in paragraph 18 of the

Declaration of Norrie Ramsay (ECF No. 222-1). Those activities include “cultural,

biological, civil and other surveys.” Id. ¶ 18. The Court’s summary judgment

order instructs the State Department to supplement the NEPA analysis of cultural

resources, which may involve additional survey work. See November 8, 2018

Order at 27 (ECF No. 218). Similarly, addressing the ESA issues found by the

Court may involve additional wildlife surveys. See id. at 44. Cultural and wildlife

surveys, and potentially other types of surveys, also may be conducted to complete

environmental analyses in conjunction with permit applications relating to the

Keystone XL Pipeline.

      Accordingly, Federal Defendants respectfully request that the Court clarify



2
  Similarly, Federal Defendants understand that the Court’s order does not restrict
other agencies’ ability to evaluate and conduct environmental reviews in relation to
applications pending before them that relate to the Keystone XL Pipeline, such as
the Clean Water Act permits pending before the U.S. Army Corps of Engineers
(which is not a defendant in this case) and the right-of-way application pending
before the Bureau of Land Management. See TC Mem. at 4-5 (ECF No. 222).
                                           4
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that its summary judgment order does not preclude federal agencies or

TransCanada from conducting environmental reviews relating to the Keystone XL

Pipeline, including related cultural, biological, and other surveys.

      Respectfully submitted this 29th day of November, 2018,

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                                 Environment and Natural Resources Division

                                 SETH M. BARSKY, Section Chief

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                        CERTIFICATE OF SERVICE

      I hereby certify that on November 29, 2018, a copy of the foregoing

Defendants’ Response to Defendant-Intervenors’ Motion to Amend the Court’s

Order on Summary Judgment was served on all counsel of record via the Court’s

CM/ECF system.


                               /s/ Luther L. Hajek
                               LUTHER L. HAJEK
                               U.S. Department of Justice




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